
OPINION OF THE COURT
TED BROUSSEAU, Circuit Judge.
This cause, having come on to be heard on June 24, 1985 on Intervenor, News-Press Publishing Co., Inc., d/b/a Fort Myers News-Press’ Motion for Limited Intervention and to Compel Arbitration Hearings to be Open to the Public, all parties being duly noticed, the Court being fully apprised of the law and of the facts, it is hereby,
ORDERED AND ADJUDGED
1. That News-Press Publishing Co., Inc., d/b/a Fort Myers News-Press has standing to intervene.
2. That the Board of County Commissioners of Collier County, Florida, is a public body as contemplated by Florida Statute 286.011, commonly known as the “Sunshine Law”.
*1663. That if one of the parties to an arbitration proceeding is a public body, then that proceeding is to be open to the public pursuant to Florida Statute 286.011.
THEREFORE, the arbitration proceedings in this cause are to be open to the public.
